                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

JOHN DOE,                                )
                                         )
          Plaintiff,                     )
                                         )
v.                                       )     Case No.: 3:17-cv-01245
                                         )     CHIEF JUDGE CRENSHAW
                                         )
BELMONT UNIVERSITY,                      )
                                         )
          Defendant.                     )
             DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
                MOTION FOR JUDGMENT ON THE PLEADINGS

     I.      Introduction

          Plaintiff is a former undergraduate student of Defendant Belmont University

(“Belmont” or “the University”) who was accused by a female student of sexual

misconduct in violation of Belmont policies. Plaintiff alleges that Belmont violated

his rights under Title IX of the Educational Amendments Act of 1972, 20 U.S.C. §

1681 et seq, (“Title IX”), breached a purported contract, and committed a variety

of torts against him during the course of the University’s investigation of the Title

IX complaint. As set forth herein, Plaintiff has failed, as a matter of law, to state a

claim upon which relief can be granted for breach of contract, promissory estoppel,

intentional infliction of emotional distress, intentional interference with a business

relationship, and unjust enrichment.




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      A.     Standard of Review

      A motion for judgment on the pleadings may be filed “after the pleadings are

closed but within such time as not to delay the trial.” See Fed.R.Civ.P. 12(c). In

deciding motions for judgment on the pleadings, courts apply the same analysis

that they would apply to motions to dismiss under Fed.R.Civ.P. 12(b)(6). See

E.E.O.C. v. J.H. Routh Packing Co., 246 F.3d 850, 851 (6th Cir. 2001). Judgment

may be granted if the court determines that the moving party is entitled to

judgment as a matter of law. See Astor v. International Bus. Machs. Corp., 7 F.3d

533, 538 (6th Cir. 1993).

      In deciding a motion for judgment on the pleadings, the Court considers the

“pleadings,” which consist of the complaint, the answer, any counterclaims, and

any written instruments attached as exhibits to those pleadings. See Commercial

Money Center, Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 335 (6th Cir. 2007);

Felix v. Dow Chemical Co., 2008 WL 207857, *1 (S.D. Ohio 2008) (citing

Fed.R.Civ.P. 12(c); Fed.R.Civ.P. 7(a) (defining “pleadings” to include both the

complaint and the answer); see also Housing Authority Risk Retention Group, Inc.

v. Chicago Housing Auth., 378 F.3d 596, 600 (7th Cir. 2004)). A pleading is

deemed to include any written instrument attached to it as an exhibit, materials

incorporated in it by reference, and documents that, although not incorporated by

reference, are integral to the complaint. Id. (citing Fed.R.Civ.P. 10(c), and Sira v.



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Morton, 380 F.3d 57, 67 (2d Cir. 2004)). Documents attached to the answer may

be considered in a Rule 12(c) motion if they are referred to in plaintiff’s complaint

and are central to plaintiff’s claims. Id. (citing Horsley v. Feldt, 304 F.3d 1125,

1133-35 (11th Cir. 2002)); see also Weiner v. Klais and Co., Inc., 108 F.3d 86, 88

(6th Cir. 1997) (applying rule to motion to dismiss under Fed.R.Civ.P. 12(b)(6));

see also WRIGHT     AND   MILLER, FEDERAL PRACTICE & PROCEDURE § 1367 (“a

judgment on the merits can be achieved by focusing on the content of the

competing pleadings, exhibits thereto, matters incorporated by reference in the

pleadings, whatever is central or integral to the claim for relief or defense, and any

facts of which the district court will take judicial notice”).

      Defendant references two exhibits in support of its motion, both of which are

attached as exhibits to Defendant’s Amended Answer (Doc. 20) and referred to

extensively in the complaint and answer. Exhibit A is a true and correct copy of

Defendant’s initial Title IX determination letter dated December 13, 2016 sent to

Doe by Belmont’s Title IX coordinator (Doc. 21-1). Exhibit B is a true and correct

copy of the Bruin Guide student handbook as it was in effect in the fall of 2016

(Doc. 21-2).

      B.       Statement of Relevant Facts

      This case arises from Belmont’s investigation of a complaint of sexual

misconduct filed against Plaintiff, John Doe, by Belmont student S.S. (“Student



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S”) beginning in October of 2016. (Doc. 1, ¶6). Belmont addressed this complaint

pursuant to its policies under Title IX of the Education Amendments of 1972. The

investigation was conducted by Belmont’s Title IX department. (Doc. 1, ¶¶9, 27).

             (i) Doe and Student S become friends.

      John Doe and Student S met on or about May of 2016. (Doc. 1, ¶12). Doe

and Student S were on summer staff for Belmont and lived in the same residence

hall over the summer of 2016 in housing provided by Belmont for summer staff.

(Doc. 1, ¶13; Doc. 9, ¶13). Doe and Student S became friends over the summer

and went on various outings together or with additional friends. (Doc. 1, ¶16).

      Student S worked for Bar Taco during the summer of 2016 near Belmont’s

campus. (Doc. 1, ¶18). Doe occasionally offered to give Student S a ride back to

campus after her work finished, and Student S sometimes asked Doe for a ride

back to campus after her shift. (Doc. 1, ¶¶19-20). Doe and Student S’s relationship

progressed through the summer. They began to kiss and hangout more together.

(Doc. 1, ¶22).

             (ii) Student S’s Title IX complaint is thoroughly and fairly

             investigated by Belmont.

      In October of 2016, Student S filed a formal Title IX complaint of sexual

misconduct against Doe. (Doc. 1, ¶25). Student S alleged that Doe kissed her and

attempted to take her shorts off. Student S alleged that on a separate occasion Doe



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asked her to take her shorts off, which she did, and then Doe attempted to have

sexual intercourse with her. Student S also alleged that while kissing in a hammock

at Percy Warner Park Doe attempted to undress her and she stopped him. (Doc. 1,

¶34).

        On October 6, 2016, Belmont’s Title IX Coordinator found reasonable cause

to exist sufficient for Student S’s complaint to proceed under Belmont’s Sexual

Misconduct Policy, which is set forth in the university’s student handbook, the

Bruin Guide. (Doc. 1, ¶27, 76; Ex. B, p. 20). At all times relevant to the allegations

in this case, Belmont’s Bruin Guide specifically provided that “Occasionally

policies will change during the academic year. The policies and processes found in

the Bruin Guide are the most current and supersede any other version found

outside this web publication. * * * The language used in this handbook is not

intended to create nor is it to be construed to constitute a contract between

Belmont University and any one or all of its students.” (Ex. B, p. 5, p. 11; Doc. 20,

Defense 4, p. 18)(Emphasis added).

        On October 11, 2016, Doe was given a No Contact Order from Belmont

prohibiting any further contact between Student S and Doe. (Doc. 1, ¶28).

Belmont’s formal Title IX investigators investigated the complaint between

October, 11 and October 28, 2016. (Doc. 1, ¶30). On October 28, 2016 both

Student S and John Doe were given the investigatory file complied by Belmont’s



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Title IX department and asked to submit their final statements in response within

three days. (Doc. 1, ¶32). Doe requested and received an extension of time to

review the materials and provide his statement in response. (Doc. 20, ¶ 32). Doe

also requested that an additional witness of his be interviewed. (Doc. 1, ¶37). This

witness was interviewed on November 3, 2016 and the information pertaining to

his interview was provided to Doe and Student S as a late addition to the

investigatory file. (Doc. 1, ¶38; Ex. A, pp. 9-10).

             (iii) The Title IX complaint is resolved in Doe’s favor.

       On December 13, 2016, Belmont issued its initial determination letter to

Doe. (Ex. A). This letter reviewed the investigation and witness statements in

depth. Id. The Title IX Coordinator found important statements made by Doe

during the investigation to be lacking in credibility. (Ex. A, p. 11). Particularly,

Doe had questioned the authenticity of a number of text messages submitted by

Student S, which established that Doe and Student S had a more physical

relationship than Doe had acknowledged. (Id.) Doe claimed the text messages were

clearly doctored, glaring forgeries, and total lies. (Ex. A, p. 12). Due to these

claims, Belmont had the university’s Director of Information Security and its Chief

Information Officer examine and analyze Student S’s phone. (Ex. A, p. 10). Based

on this inspection, the text messages were found to be authentic. (Ex. A, pp. 10-

11).



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      Belmont’s Title IX Coordinator determined that “despite Respondent’s

[Doe’s] attempts to deny the relationship and his untruthfulness throughout this

process, I cannot find it more likely than not that Respondent violated the

university’s sexual misconduct policy . . . Therefore, I find Respondent not

responsible for non-consensual sexual intercourse and non-consensual sexual

contact.” (Doc. 1, ¶ 40; Doc. 20, ¶ 40). Student S’s evidence established that she

and Doe had a physical relationship with one another, but fell short in showing it

was more likely than not that Doe had violated the sexual misconduct policy by

engaging in non-consensual sexual contact. (Ex. A, p. 12).

             (iv) Doe is sanctioned for being untruthful in the investigation.

      Although Doe was not found in violation of the policy, Doe was held

accountable for being untruthful in the Title IX investigation. (Ex. B, p. 12).

Belmont assigned the following sanctions: (1) Suspension through the end of the

upcoming Spring 2017 semester with eligibility to return in Summer of 2017 upon

reapplication; (2) Institutional probation throughout Does’ Belmont Career during

which any further violation of the Code of Conduct would put Doe’s status with

the university in jeopardy; (3) Loss of the ability to hold a leadership position in

any co-curricular organization; and (4) A permanent do not contact order with

Student S. (Ex. A, p. 13).




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         On December 15, 2016 Doe timely appealed the initial determination letter.

(Doc. 1, ¶41). On December 28, 2016, Doe received Belmont’s response to his

appeal noting that no procedural errors were found and the prior determination

would stand. (Doc. 1, ¶42).

         Doe withdrew from Belmont and did not return after his suspension for the

Spring 2017 Semester. (Doc. 1, ¶¶71, 73). Accordingly Doe lost his employment

as a student worker for Belmont University. (Doc. 1, ¶¶170-171; Doc. 9, ¶170).



II.      Legal Analysis and Argument

         A.    Plaintiff fails to state a claim for Breach of Contract

         In Count I of the Complaint, Plaintiff asserts that Belmont breached a

contract consisting of the student handbook, the Bruin Guide (Doc. 1, ¶¶76, 77,

78). To establish a breach of contract claim, Plaintiff must demonstrate that an

enforceable contract existed. See Kindred v. National College of Business & Tech.,

Inc., Slip Copy, 2015 WL 1296076, *4 (Tenn.Ct.App. 2015); see also Ku v. State

of Tenn., 104 S.W.3d 870, 875 (Tenn.Ct.App. 2002) citing Johnson v. Central

Nat’l Ins. Co., 356 S.W.2d 277, 281 (Tenn. 1962). While a contract may either be

express or implied, written or oral, it “must result from a meeting of the minds of

the parties in mutual assent to the terms, must be based upon a sufficient

consideration, free from fraud or undue influence, not against public policy and



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sufficiently definite to be enforced.” Staubach Retail Services-Southeast, LLC v.

H.G. Hill Realty Co., 160 S.W.3d 521, 524 (Tenn. 2005); see also Ku, at 875-876.

      The Bruin Guide expressly disclaims that it is a contract, and states, in

pertinent part: “The language used in this handbook is not intended to create nor is

it to be construed to constitute a contract between Belmont University and any one

or all of its students.” (Ex. B, Section III, p. 11). The Bruin Guide further provides

that, “Occasionally, policies will change during the academic year,” (Ex. B,

Section I, p. 5), putting students on notice that Belmont may unilaterally change its

policies as it deems appropriate. The disclaimers reflect the University’s clear

intention not to be contractually bound to the contents of the student handbook.

      Tennessee courts have held that similar disclaimers in university handbooks

“preclude the finding of a contract,” particularly when, as here, there is no other

offer or assertion of Belmont’s intent to be bound by the contents of the Bruin

Guide. See Gardner v. Univ. of Memphis College of Business, Not Reported, 2003

WL 1872640, *3 (Tenn.Ct.App. Apr. 8, 2003); see also Petty v. State of Tenn., Not

Reported, 2002 WL 415650, *2 (Tenn.Ct.App. 2002) (rejecting contract formed by

virtue of catalog when catalog explicitly set forth a disclaimer); Cf King v. TFE,

Inc., 15 S.W.3d 457, 461 (Tenn.Ct.App. 1999)(employee handbook expressly

disclaimed formation of contract, reflecting company’s intent not to be bound); see

also Smith v. Morris, 778 S.W.2d 857, 858 (Tenn.Ct.App. 1988)(“the specific



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language of the handbook must show contractual intent.”); see also MacDougal v.

Sears, Roebuck & Co., 624 F.Supp. 756, 758 (N.D. Tenn. 1985)(finding that the

employee manual was a “unilateral expression of company policy and does not

amount to a contract between Sears and the plaintiff.”). Without mutual assent,

there is no contract. See Ku, at 876. Unequivocally, the Bruin Guide is not intended

to be a contract, and as a matter of law the mutual assent prerequisite to Plaintiff’s

breach of contract claims is lacking. See Petty, at *2; King, at __.

      Plaintiff next asserts that the Bruin Guide “contract contained an implied

covenant of good faith and fair dealing.” (Doc. 1, ¶78). It is well-settled that a

claim for violation of the covenant of good faith and fair dealing is not a stand-

alone claim, but is instead part of a breach of contract claim. See Jones v.

Lemoyne-Owen College, 2009 WL 1941515, *10 (Tenn.Ct.App. 2009), citing

Lyons v. Farmers Ins. Exch., 26 S.W.3d 888, 894 (Tenn.Ct.App. 2000). Without a

contract, there can be no breach of contract claim, and without a breach of contract

claim, there can be no claim for breach of covenant of good faith and fair dealing.

Thus, it is axiomatic that a contract between the parties must exist in order to state

a claim for violation of the covenant of good faith and fair dealing.

      Even assuming a contract exists, the allegations of the complaint belie its

breach. Doe contends that Belmont breached the purported contract by denying

him due process and fundamental fairness (Doc. 1, ¶86). However, the Complaint



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is replete with demonstrations of Belmont’s due process and fundamental fairness

to Plaintiff, including notice (Doc. 1, ¶¶31, 81, 102), investigation of charges (id.,

at ¶¶30, 91, 107, 108, 114), opportunity to be heard (id., ¶99), option to select an

advisor (id., ¶¶97, 99), presentation of witnesses (id., ¶¶38, 107, 109), opportunity

to review evidence and rebut it (id., ¶¶32, 116), and an appeal (id., ¶¶41, 121).

Indeed, Belmont found Plaintiff not responsible for the sexual misconduct charges

that prompted the Title IX investigation (id., ¶120; Ex. A).

      The thrust of Plaintiff’s claim appears foisted on the notion that Belmont

dared to punish him for lying during the Title IX investigation without first

providing him notice of his lies and launching an entirely separate investigation

into his bountiful untruths. (Doc. 1, ¶¶83-86). Nothing in the Bruin Guide or in law

(or common sense) requires a student to be investigated separately for lying to a

university official during an investigation. The Bruin Guide establishes the

expectation among students that “actions will be taken” in response to “behaviors

that compromise” the university community’s commitment to “personal integrity.”

Ex. B, p. 13. “Such behaviors include, but are not limited to: cheating; plagiarism;

forgery; deliberate deception; furnishing false information;” among a list of other

behaviors. Id. (emphasis added). Plaintiff thus was on perennial notice that he

would be punished if he lied during the Title IX investigation, which the Title IX

Coordinator found he did. (Ex. A).



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      Finally, to prevail on his breach of contract claim, in addition to showing an

enforceable contract and the breach of it (both of which Doe has failed to do),

Plaintiff must also demonstrate “damages caused by the breach of the contract.”

Kindred, at *4. “An injured party is only entitled to be put in the same position he

would have been in had the contract been performed.” Kindred v. National College

of Bus. & Tech., Slip Copy, 2015 WL 1296076, *6 (Tenn.Ct.App. 2015).

“Damages in breach of contract cases are nothing more than payment in money for

actual losses caused by the breach of contract.” Id. The Complaint is wholly bereft

of any particular financial loss. Instead, Plaintiff vaguely asserts “substantial

injury, including … past and future economic loss, …, and loss of future career

prospects.” (Doc. 1, ¶126; p. 28, ¶6).

      “[P]arties are not entitled to recover uncertain, contingent, or speculative

damages.” Kindred, at *6 (original emphasis). “Damages will be considered

uncertain or speculative when their existence is uncertain...” Id. To the extent

Plaintiff rests his claim on past economic damages, he fails to articulate what they

are, and he must do more than merely conclude that he was damaged. Courts “need

not accept as true legal conclusions couched as factual allegations.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955 (2007) (quoting Papasan v. Allain,

478 U.S. 265, 286, 106 S.Ct. 2932); see also Ashcroft v. Iqbal, 556 U.S. 662, 678,

129 S.Ct. 1937 (2009). The remainder of his supposed damages consist of patently



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speculative future losses, which are not recoverable. See Kindred, at *6. Doe was

suspended at the end of the fall 2016 semester for the upcoming spring 2017

semester. He lost no tuition on account of the suspension and was free to apply

and re-enroll beginning in summer of 2017. Any alleged damages are speculative.



      B.     Plaintiff fails to state a claim for Promissory Estoppel

      Tennessee courts have defined promissory estoppel as “a promise which the

promisor should reasonably expect to induce action or forbearance of a definite

and substantial character on the part of the promisee and which does induce such

action or forbearance [such that . . .] injustice can be avoided only by enforcement

of the promise.” Chavez v. Broadway Elec. Serv. Corp., 245 S.W.3d 398, 404

(Tenn.Ct.App. 2007); see also Barnes & Robinson v. OneSource Facility Servs.,

195 S.W.3d 637, 645 (Tenn.Ct.App. 2006). To succeed on his claim, Plaintiff must

show “(1) that a promise was made; (2) that the promise was unambiguous and not

unenforceably vague; and (3) that [he] reasonably relied upon the promise to [his]

detriment.” Chavez, at 404. Critically, inherent in a claim for promissory estoppel

is a finding of a clear and precise promise. See id, at 405.

      In Count II, Plaintiff generally asserts that the University’s policies and

procedures in the Bruin Guide, and other unidentified publications contain

unspecified “guarantees of due process and fundamental fairness,” which allegedly



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constitute both “express and implied promises” to Plaintiff that he claims to have

relied on to his detriment. (Doc. 1, ¶128). Doe fails to specify the particular

promise(s) on which he claims to have detrimentally relied, which is fatal to his

claim. See Chavez, at 404.

      The Bruin Guide limits students’ reliance upon the policy statements

contained in it by preserving the University’s ability to change policies unilaterally

at its discretion. See Ex. B, p. 5; see also Shaughnessy v. Interpublic Group of

Companies, Inc., 506 Fed.Appx. 369, 378 (E.D. Mich. 2012) (dismissing plaintiff’s

motion to amend the complaint to add a claim for promissory estoppel because

disclaimers contained in the Code of Conduct precluded formation of a promise

not to retaliate against plaintiff). “Where, as here, a [university] ‘retains the choice’

to either follow or to abandon its specified policy, the policy is, in reality, ‘not a

promise at all.’” Shaughnessy, at 378. “In other words, where a [university] makes

known to its [students] that ‘[student] policies are subject to unilateral changes by

the [university],’ the [student] cannot legitimately expect ‘that any particular policy

will remain in force.’” Id. The Bruin Guide explicitly warns students that policies

will occasionally change during the academic year, (Ex. B, p. 5), and therefore

cannot, as a matter of law, constitute the kind of promise contemplated in claims

for promissory estoppel. See, e.g., Shaughnessy, at 378.




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      Moreover, Plaintiff fails to identify a clear promise upon which he

supposedly detrimentally relied, as he must do to prevail. See Chavez, at 405. In

Chavez, supra, plaintiffs claimed that defendant made promises regarding the

available work in the area. See Chavez v. Broadway Elec. Service Corp., 245

S.W.3d 398, 405 (Tenn.Ct.App. 2007). Plaintiffs asserted that defendant’s agents

represented that the “construction market was strong and solid, there was years of

work to be done, overtime would be plentiful, and anyone with a security clearance

would have no difficulty finding work…”, and that plaintiffs detrimentally relied

on those promises. Id. The court found that the “promises” defendant made “were

too ambiguous, vague, and nonspecific” to support a claim for promissory

estoppel. Id.

      Here, Doe’s purported “promises” are even more “ambiguous, vague and

nonspecific” than those relied upon by the Chavez plaintiffs, as Doe pleads only a

general reference to nebulous notions of “promises and policies made in its official

publications, including the Bruin Guide,” (Doc. 1, ¶76); and an unspecified

“promise of fundamental fairness,” (Doc. 1, ¶¶64, 88, 93, 98, 110.)

      Further, Tennessee courts place limits on promissory estoppel claims,

including: “(1) the detriment suffered in reliance must be substantial in an

economic sense; (2) the substantial loss to the promisee in acting in reliance must

have been foreseeable by the promisor; (3) the promisee must have acted



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reasonably in justifiable reliance on the promise as made.” Calabro v. Calabro, 15

S.2.3d 873, 879 (Tenn.Ct.App. 1999) (emphasis added). Absent a clear, specific

promise to plaintiff and in the context of the Bruin Guide’s warning that “policies

will change during the academic year,” Doe’s alleged reliance cannot be said to be

reasonable as a matter of law. See Chavez, at 405; see also Ex. B, p. 5. Nor can

Plaintiff’s conclusory allegation that he reasonably relied on these purported

promises to his detriment carry the day as such assertions “…are distinct from the

factual allegations that [courts] are required to accept under Rule 12.” Barnes &

Robinson, at 644; Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.

      Plaintiff also fails to factually allege the sort of substantial economic loss

necessary to support a claim for promissory estoppel. Plaintiff claims he paid

tuition in reliance on Belmont’s unspecified promises. (Doc. 1, ¶128). As noted

above, Plaintiff’s suspension covered the upcoming spring 2017 semester (Id., ¶62;

Ex. A). He does not assert that he was required to pay tuition to Belmont during

the period of his suspension, and he was not. Thus, the purported economic

detriment of tuition is entirely mitigated by the benefits conferred upon him in the

form of his education during the period of his enrollment for the fall semester of

2016. Indeed, he (or his parents) paid tuition so that he would be educated, and he

received formal instruction in exchange for that payment as there are no allegations

indicating he did not receive an education during his enrollment. “No injustice



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arises in the refusal to enforce a promise where either the loss induced is negligible

or the promisee’s reliance is not reasonable.” Barnes & Robinson, at 645.

      Finally, “…the doctrine of promissory estoppel is not to be liberally applied,

and its application is limited to exceptional cases where the circumstances border

on actual fraud.” Chavez v. Broadway Elec. Service Corp., 245 S.W.3d 398, 406

(Tenn.Ct.App. 2007); Barnes & Robinson Co. Inc. v. OneSource Facility Services,

Inc., 195 S.W.3d 637, 645. Here, Plaintiff fails to assert any specific written or oral

promise made by Belmont or to allege any conduct that “verges on actual fraud.”

See Chavez, at 407, citing Shedd v. Gaylord Entertainment Co., 118 S.W.3d 695,

700 (Tenn.Ct.App. 2003) (declining to find such an “exceptional case” where there

were no allegations of fraudulent conduct by the defendant). Plaintiff’s vague

contention that general notions of due process and fundamental fairness were

breached are particularly feeble given the allegations in the complaint

demonstrating he was afforded due process: Doe was found not responsible for the

alleged sexual misconduct because the claimant did not meet her burden of proof.

(Ex. A). His claim appears rooted in the fact that Belmont disciplined him for

numerous occasions of his dishonesty during the Title IX investigation, and he now

seeks relief from this Court to escape any consequence of his own misconduct.

Promissory estoppel does not provide a vehicle for his specious venture.




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      C.     Plaintiff fails to state a claim for intentional infliction of emotional
             distress (IIED)

      Plaintiff contends in Count IV that Belmont’s Title IX investigation and the

discipline imposed upon him for lying during the course of it were intentional and

reckless actions “so outrageous that they are not tolerated in a civilized society.”

(Doc. 1, ¶¶145, 146). Plaintiff’s allegation of Belmont’s outrageous conduct is

belied by the fact that Belmont issued a determination in his favor regarding the

Title IX allegation of sexual misconduct. Nevertheless, to state a claim for IIED,

Doe must show that “(1) the conduct about which plaintiff complains must be

intentional or reckless; (2) the conduct must be so outrageous that it is not tolerated

by civilized society, and (3) the conduct about which the plaintiff complains must

result in serious mental injury.” Kindred v. Nat’l College of Bus. & Tech., Slip

Copy, 2015 WL 1296076, *8 (Tenn.Ct.App. 2015). It is “not an easy burden to

meet the essential elements of outrageous conduct.” The Tennessee Supreme Court

“has adopted and applied the high threshold standard described in the Restatement

(Second) of Torts,” which states in pertinent part:

             It has not been enough that the defendant has acted with
             an intent which is tortious or even criminal, or that he
             intended to inflict emotional distress, or even that his
             conduct has been characterized by ‘malice,’ or a degree
             of aggravation which would entitle the plaintiff to
             punitive damages for another tort. Liability has been
             found only where the conduct has been so outrageous in
             character, and so extreme in degree as to go beyond all



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             bounds of decency, and to be regarded as atrocious, and
             utterly intolerable in a civilized community.”

Kindred, at *8, citing Bain v. Wells, 936 S.W.2d 618, 622 (quoting Restatement

(Second) of Torts §46, comment d (1965)).

      Belmont admits it purposefully investigated the Title IX complaint and the

myriad policy violations that Plaintiff committed at different times unrelated to the

Title IX matter. (Doc. 20). Belmont’s actions in enforcing its policies and meting

out appropriate and measured sanctions for violations were not “so outrageous in

character and so extreme in degree as to go beyond all bounds of decency, and to

be regarded as atrocious, and utterly intolerable” in civilized society. Kindred, at

*8. While a defendant’s actions can be so atrocious that they provide evidence of

mental injury (because a civilized society will not tolerate it), Plaintiff’s allegations

of misconduct here fall woefully short of that threshold. See Miller v. Willbanks, 8

S.W.3d 607, 614 (Tenn. 1999). “[O]utrageous conduct does not include ‘mere

insults, indignities, threats, annoyances, petty oppression or other trivialities.’”

Kindred, at *9, quoting Levy v. Franks, 159 S.W.3d 66, 83 (Tenn.Ct.App. 2004).

As factual support for his alleged “mental anguish” and “severe emotional

distress,” Plaintiff offers only that he was “forced to withdraw from Belmont,” and

“has been unable to gain customary acceptance to another school.” (Doc. 1, ¶¶71,

72). In 175 paragraphs, he fails to offer any facts demonstrating “atrocious, utterly

intolerable” conduct on the part of Belmont.

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      A review of relevant decisions by Tennessee courts on this point is telling.

The standard is not whether Doe considers Belmont’s conduct outrageous; it is

whether civilized society would consider it intolerable to suspend a student for

lying to a university official during an investigation. Tennessee courts have

historically rejected this kind of assumption. See Goldfarb v. Baker, 547 S.W.3d

568 (Tenn. 1977); see also Kindred v. Nat’l College of Bus. & Tech., Slip Copy,

2015 WL 1296076 (Tenn.Ct.App. 2015); Runions v. Tenn. State Univ., 2009 WL

1939816 (Tenn.Ct.App. 2009).

      In Kindred, the National College of Business and Technology canceled

plaintiff’s enrollment after plaintiff attended a week of classes because her student

file did not contain an official copy of her high school transcript or equivalent.

Kindred v. Nat’l College of Bus. & Tech., Slip Copy, 2015 WL 1296076, *1

(Tenn.Ct.App. 2015). The plaintiff alleged that National College caused her to

suffer “great emotional pain and mental distress” resulting from a college

director’s “arbitrary termination” of her education, and as a result, she felt she

could “no longer pursue her educational goals because she could not continue at

National College and could not start over somewhere else at her age.” Id., at *2,

*9. The court found that although plaintiff was “understandably unhappy that her

enrollment in Term 107 was cancelled,” the school’s actions did not “rise to the

sufficiently outrageous standard required for recovery under IIED.” Id., at *10.



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      In its decision, the Kindred court cited to its earlier opinion in Runions v.

Tennessee State University, 2009 WL 1939816 (Tenn.Ct.App. 2009), where the

plaintiff had been expelled from TSU’s nursing program because of her grades,

which thwarted her goal of obtaining a nursing degree. See Kindred, at *10; see

also Runions v. Tennessee State University, 2009 WL 1939816, *1-*2

(Tenn.Ct.App. 2009). The Runions plaintiff was forcibly, physically removed from

a classroom by a professor when she showed for class after having been expelled

from the program. Runions, at *1-*2. There, plaintiff alleged the incident “caused

her to suffer great mental anguish, embarrassment and emotional distress, and that

she has had to undergo professional counseling as a result.” Runions, at *2. The

court held that “neither the administrators’ decision to expel her from the program

because of her grades nor the instructor’s action in physically removing her from

the classroom meets the exacting standard for recovery on a claim of outrageous

conduct or intentional infliction of emotional distress.” Runions, at *6.

      In its support of its holding, the Runions court cited to the Tennessee

Supreme Court’s decision in Goldfarb v. Baker, 547 S.W.2d 568 (Tenn. 1977). See

Runions, at *6. In Goldfarb, “an unidentified prankster entered the classroom,

[and] threw a pie, which struck the defendant professor, and ran away.” Goldfarb

v. Baker, 547 S.W.2d 567, 568 (Tenn. 1977). The professor accused the plaintiff of

assault; forbade him from attending class; had plaintiff ejected from the building



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when he tried to take his seat; and accused him, in the presence of others, of

attempting to blackmail the professor. See Goldfarb, at 568. Plaintiff, a former

state prisoner, complained that the episode falsely portrayed him as lawless, “that

he lost the confidence of his associates, and was frustrated in his effort to reform

his life.” Id. He alleged that the professor’s actions caused him “extreme mental

anguish, humiliation, depression, and distress.” Goldfarb, at 568. In finding that

the professor’s actions did not extend “beyond the pale of decency,” the court

quoted Magruder, Mental and Emotional Disturbance in the Law of Torts, 1936:

“Against a large part of the frictions and irritations and clashing of temperaments

incident to participating in community life, a certain toughening of the mental hide

is a better protection than the law could ever be.” Goldfarb, 547 S.W.2d at 569

(Tenn. 1977). Plaintiff’s emotional distress alleged in the present case is

comparable to the “frictions and irritations” suffered by the plaintiffs in Kindred,

Runions, and Goldfarb. Plaintiff’s allegations likewise fail to meet the “exacting

standard” necessary to establish a claim for relief and should be dismissed.

Goldfarb, at 569; Kindred, at *9; Runions, at *6.

      D.    Plaintiff fails to state a claim for intentional interference with
            business relationship

      In Count IX, Plaintiff asserts that Belmont tortiously interfered with his

employment with Belmont (Doc. 1, ¶¶170-172). Plaintiff’s claim fails as a matter

of law because there is no assertion of interference with a third party, which is

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necessary to state a claim for relief. See Trau-Med v. Allstate Ins. Co., 72 S.W.3d

691, 701 (Tenn. 2002).

      For the court to impose liability on Belmont for the tort of intentional

interference with business relationships, plaintiff must show “(1) an existing

business relationship with specific third parties or a prospective relationship with

an identifiable class of third persons; (2) the defendant’s knowledge of that

relationship and not a mere awareness of the plaintiff’s business dealings with

others in general; (3) the defendant’s intent to cause the breach or termination of

the business relationship; (4) the defendant’s improper motive or improper means,

and finally (5) damages resulting from the tortious interference.” Trau-Med, at 701

(internal citations and original emphasis omitted) (emphasis added); see also

Cambio Health Solutions, LLC v. Reardon, 213 S.W.3d 785, 789 (Tenn. 2006).

      It is a “basic principle under Tennessee law that a party to a contract cannot

be liable for tortious interference with that contract.” Cambio, at 789, citing Ladd

v. Roane Hosiery, Inc., 556 S.W.2d 758, 760 (Tenn. 1977). To the extent

Plaintiff’s claim rests on the premise that he lost his student employment with

Belmont as a consequence of the suspension of his enrollment, his claim fails as a

matter of law because Belmont is a party to that employment relationship. Cambio,

at 789. “This principle correctly reflects the purpose of the tort of intentional

interference, which is to deter third parties from interfering with the contractual



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relations of parties to a contract.” Id. (original emphasis). There are no allegations

in the complaint that Belmont interfered with Plaintiff’s contractual relationship

with a third party. Plaintiff lost his student employment with the university when

he lost his status as a student. Belmont cannot be held liable for tortious

interference in relation to its own employee. Cambio, at 789.



      E.     Plaintiff fails to state a claim for unjust enrichment

      In Count X, Plaintiff claims that Belmont used a photograph for University

advertising and promotional purposes without compensating him. (Doc. 1, ¶¶ 174,

176). Plaintiff does not offer any particular facts regarding what photo, when,

where or how it was used. He simply asserts the conclusion that Belmont

“appreciated the benefit” from the use of the unidentified photograph. (Id., ¶ 175).

      “Unjust enrichment is an equitable remedy employed by courts when there is

no contract in fact. The court will imply one at law when no contract between the

parties exists, but reason and justice require their creation.” Freeman Indus v.

Eastman Chem., 172 S.W.3d 512 (Tenn. 2005). To prevail on an unjust enrichment

claim, plaintiff must demonstrate “(1) [a] benefit conferred upon the defendant by

the plaintiff; (2) appreciation by the defendant of such benefit; and (3) acceptance

of such benefit under such circumstances that it would be inequitable for him to

retain the benefit without payment of the value thereof.” Id., quoting Paschall’s



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Inc. v. Dozier, 407 S.W.2d 150, 155 (Tenn. 1966). Here, plaintiff simply concludes

an appreciable benefit, as there are no particular factual allegations to support it.

       “The most significant requirement of an unjust enrichment claim is that the

benefit to the defendant would be unjust.” Freeman, at 525. Belmont’s retention of

any supposed benefit is not unjust because the Bruin Guide authorizes such use:

             From time to time, University personnel will photograph
       or videotape campus events for the instructional, documentary,
       promotional, public relations and/or advertising purposes of
       Belmont University. Belmont students included in such
       photographs or video agree that the photographs or video may
       be used for these purposes by Belmont University. If a student
       objects to this provision, he or she should provide written
       notice of this objection to the Office of Communications…”

Ex. B, p. 80. Plaintiff has not alleged that he provided written notice of his

objection to Belmont regarding the use of the photograph, and therefore is

considered to have agreed to its use. “The plaintiff must further demonstrate that

he or she has exhausted all remedies against the person” who is alleged to be

unjustly enriched. Id. Plaintiff makes no such allegation, and his unjust enrichment

claim fails as a matter of law.

III.   Conclusion

       Plaintiff’s complaint, based on the facts presented on its face, fails to state

claims upon which relief can be granted by the Court with respect to Counts I, II,

IV, IX, and X for those reasons set forth herein. As a matter of law, those counts

are due to be dismissed.

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      Respectfully submitted on January 12, 2018.

                                             s/ Timothy A. Palmer
                                             Timothy A. Palmer, TN Bar # 008993
                                             Samantha K. Smith, PHV
                                             OGLETREE, DEAKINS, NASH, SMOAK
                                                   & STEWART, P.C.
                                             SunTrust Plaza
                                             401 Commerce Street, Suite 1200
                                             Nashville, TN 37219
                                             (615) 687-2230 – telephone
                                             (615) 254-1908 – facsimile
                                             Timothy.Palmer@ogletree.com


                         CERTIFICATE OF SERVICE

      I hereby certify that on the 12th day of January 2018, I e-filed the foregoing

via the Court’s CM/ECF service, which will serve the following counsel of record:

                                Michelle Owens
                                  Lynn Agee
                           Agee Owens Cooper, LLC
                           2911 Elm Hill Pike, Suite 2
                              Nashville, TN 37214
                          mowens@ageeowenslaw.com

                                                    s/ Timothy A. Palmer




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